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IN THE UNITED sTATEs DIsTR_ICT CoUlr?s'JU " jo 00
FoR THE WESTERN DISTRICT oF TENNESSEEL /9 p,, ' "

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sYLvIA L. srUDARD and husband, 530/v

WILLIAM J. STUDARD, SR.,
Plaintiffs,
VS. No. 05-1184-T/An

l\/IERCK & CO., INC., ET AL.,

\-/\-_/\_/\.,/\_/\_/\¢_/\~,/\-_/\_/

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs Sylvia L. Studard and William J. Studard, Sr., filed this action in the Circuit
Court ofCrockett County, Tennessee, on May 27, 2005, against Merck and Company, Inc.,
maker of the prescription drug known as Vioxx. Plaintiffs also named as defendants certain
local l\/Ierck sales representatives and pharmacists Merck removed the action to this Court
on July l, 2005, on the basis of diversity of citizenship, contending that the non-diverse
defendants Were fraudulently joined in an attempt to defeat diversity jurisdiction

Also on July l, 2005, Merck filed a motion to stay all further proceedings pending
a decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in l\/IDL Proceeding No. 1657, In re Vioxx Product

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with Ruta 58 and,'or_?Q (a) FRCP on

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Liabilig Litigation. Plaintiffs filed a motion to remand the action to state court on July 15,
2005.

The MDL Panel issued the first Transf`er Order establishing MDL-l 65 7 on February
16, 2005. In that order, the Panel stated:

The pendency ofa motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedingsl We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as well as in any other MDL-1657 actions can be

presented to and decided by the transferee judge, See, e.g., fn re Ivy, 901 F .2d

7 (2d Cir. 1990); 111 re Prudenti'al Insurance Company ofAmerica Sales

Practices Lz'tigation, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
'l`ransfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiffs’ motion to remand. E JPML R. l.5. The decision whether
to grant a stay is within the inherent power of the Court and is discretionary §§ Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. l\/Iercl< & Co. lnc., No. l:O4CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.g., Anderson v. Mercl< & Co.. Inc.. No. 4:05-cv~89 (E.D. Mo. Mar. 16, 2005);
McCrerev v. l\/lerck & Co.t Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. l\/lerck

& Co. Inc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

 

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There are several other Vioxx cases already pending in this district, and possibly
thousands more in other districts In many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or will be transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resourcesl fn addition, the Court finds that
any prejudice to the plaintiffs resulting from a stay would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’s motion to stay pending the l\/IDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

IT lS SO ORDERED.

CWMZ)QMM

S D. TODD
ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01184 was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

